           Case 3:21-cv-08854-JCS Document 42-4 Filed 08/11/22 Page 1 of 14



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     GWEN DANIELSON, EMMA BORHANIAN,
 5   JACK LASOTA, and ALEXANDER JEFFREY LEATHAM
 6
 7
 8
                                     U.S. DISTRICT COURT
 9                             NORTHERN DISTRICT of CALIFORNIA
                                   SAN FRANCISCO DIVISION
10
11
     GWEN DANIELSON, et al.,                     Case No.: 3:21-cv-8854-JCS
12
            Plaintiffs,                          EXHIBIT D
13
                          v.                     Hon. Joseph C. Spero
14
15   COUNTY OF SONOMA, CALIFORNIA, et al.,       Date: August 19, 2022
                                                 Time: 2:00 a.m.
16          Defendants.                          Courtroom: F
17
18
19
20
21
22
23
24
25
26
27
28

                                                   1
                                        EXHIBIT D / 3:21-cv-8854
8/9/22, 11:46 PM         Case 3:21-cv-08854-JCS Document 42-4 Details
                                                                Filed 08/11/22 Page 2 of 14




        Case Information

        SCR-733198-4 | People vs. LEATHAM, ALEXANDER JEFFREY

        Case Number                                      Court
        SCR-733198-4                                     Criminal
        File Date                                        Case Type                  Case Status
        11/19/2019                                       Felony                     Filed




        Party

        Plaintiff                                                                   Active Attorneys 
        THE PEOPLE OF THE STATE OF CALIFORNIA                                       Lead Attorney
                                                                                    Sonoma County District Attorney




        Defendant                                                                   Active Attorneys 
        LEATHAM, ALEXANDER JEFFREY                                                   Pro Se
        DOB
        XX/XX/XXXX




        Charge

        Charges
        LEATHAM, ALEXANDER JEFFREY


                          Description                                Statute     Level                   Date

                   001    CONSPIRACY:COMMIT CRIME                    182(a)(1)   *Felony                 11/15/2019

                   002    OBSTRUCT/ETC PUB OFCR/ETC                  148(a)(1)   *Misdemeanor            11/15/2019

                   003    WEAR MASK UNLAWFL PURPOSE                  185         *Misdemeanor            11/15/2019

                   004    T/PSS:POSTED LAND                          602(k)      *Misdemeanor            11/15/2019

                   005    WILLFUL CRUELTY TO CHILD                   273a(b)     *Misdemeanor            11/15/2019


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8/9/22, 11:46 PM         Case 3:21-cv-08854-JCS Document 42-4 Details
                                                                Filed 08/11/22 Page 3 of 14
                   006    FALSE IMPRISONMENT                               236    *Misdemeanor   11/15/2019




        Events and Hearings


            11/19/2019 On View 


            Judicial Officer
            Urioste, Mark A.

            Hearing Time
            1:30 PM

            Result
            Held

            Comment
            Hearing Added successfully using Integration with Justicehub


            11/19/2019 Complaint Filed 


               Judicial Officer
               Urioste, Mark A.


            11/20/2019 Appearance of Defendant 


            Judicial Officer
            Urioste, Mark A.

            Hearing Time
            8:30 AM

            Result
            Held

            Comment
            arraignment


            11/20/2019 Defendant arraigned on Complaint by Court /Stipulation 


               Judicial Officer
               Urioste, Mark A.


            11/21/2019 Cash Bond Filed 


               Comment
               4757105


            11/25/2019 Plea 




https://cmsportal.sonomacourt.org/IPortal/Home/WorkspaceMode?p=0                                              2/13
8/9/22, 11:46 PM       Case 3:21-cv-08854-JCS Document 42-4 Details
                                                              Filed 08/11/22 Page 4 of 14
            Judicial Officer
            Guynup, Gayle C

            Hearing Time
            8:30 AM

            Result
            Held


            12/11/2019 Counsel 


            Judicial Officer
            Urioste, Mark A.

            Hearing Time
            8:30 AM

            Result
            Held

            Comment
            Plea


            12/11/2019 Document - Filed 


               Comment
               Waiver of Conflict of Interest


            01/08/2020 Further Arraignment 


            Original Type
            Further Arraignment

            Judicial Officer
            Simonds, Dana Beernink

            Hearing Time
            8:30 AM

            Result
            Held


            01/08/2020 Not able to settle matter in ECR. Assigned to Department 2 


               Judicial Officer                 Comment
               Simonds, Dana                    for all purposes.
               Beernink



            01/16/2020 Further Arraignment 


            Original Type
            Further Arraignment

            Judicial Officer
            Averill, Shelly J



https://cmsportal.sonomacourt.org/IPortal/Home/WorkspaceMode?p=0                            3/13
8/9/22, 11:46 PM       Case 3:21-cv-08854-JCS Document 42-4 Details
                                                              Filed 08/11/22 Page 5 of 14
            Hearing Time
            8:30 AM

            Result
            Held

            Comment
            Demurrer


            02/18/2020 Plea 


            Judicial Officer
            Averill, Shelly J

            Hearing Time
            8:30 AM

            Result
            Held

            Comment
            Set Preliminary Hearing


            03/10/2020 Further Proceedings 


            Judicial Officer
            Averill, Shelly J

            Hearing Time
            8:30 AM

            Result
            Held

            Comment
            Possible discovery issue; Plea; to set PX


            03/10/2020 Waiver of Personal Appearance


            04/17/2020 Document - Filed 


               Comment
               Objection To Subpoena Duces Tecum; Motion To Quash; Memorandum of P&A


            04/17/2020 Declaration in Support 


               Comment
               Filed


            06/19/2020 Motion 


            Original Type
            Motion

            Judicial Officer
            Averill, Shelly J


https://cmsportal.sonomacourt.org/IPortal/Home/WorkspaceMode?p=0                            4/13
8/9/22, 11:46 PM       Case 3:21-cv-08854-JCS Document 42-4 Details
                                                              Filed 08/11/22 Page 6 of 14
            Hearing Time
            8:30 AM

            Result
            Held

            Comment
            Quash/Demurrer


            07/27/2020 Appearance of Counsel 


            Judicial Officer
            Averill, Shelly J

            Hearing Time
            8:30 AM

            Result
            Held


            09/28/2020 Appearance of Counsel 


            Judicial Officer
            Averill, Shelly J

            Hearing Time
            8:30 AM

            Result
            Held

            Comment
            Last Continuance; Plea


            09/28/2020 Court Grants Defense Motion to Continue under 1050 PC 


               Judicial Officer
               Averill, Shelly J


            11/30/2020 Appearance of Counsel 


            Original Type
            Appearance of Counsel

            Judicial Officer
            Averill, Shelly J

            Hearing Time
            8:30 AM

            Result
            Held

            Comment
            Plea


            12/28/2020 Appearance of Counsel 



https://cmsportal.sonomacourt.org/IPortal/Home/WorkspaceMode?p=0                            5/13
8/9/22, 11:46 PM       Case 3:21-cv-08854-JCS Document 42-4 Details
                                                              Filed 08/11/22 Page 7 of 14
            Judicial Officer
            Nakahara, Vernon K

            Hearing Time
            8:30 AM

            Result
            Held

            Comment
            Plea


            01/25/2021 Appearance of Defendant 


            Judicial Officer
            Averill, Shelly J

            Hearing Time
            8:30 AM

            Result
            Held

            Comment
            appearance of counsel


            02/23/2021 Appearance of Defendant 


            Judicial Officer
            Averill, Shelly J

            Hearing Time
            8:30 AM

            Result
            Held

            Comment
            Appearance of Counsel


            03/23/2021 Plea 


            Judicial Officer
            Averill, Shelly J

            Hearing Time
            8:30 AM

            Result
            Held

            Comment
            set Preliminary Hearing


            04/07/2021 Notice of 


               Comment
               Defendants' Notice of Demurrer & Demurrer to Accusatory Pleading with Memorandum of Points & Authorities -
               Filed

https://cmsportal.sonomacourt.org/IPortal/Home/WorkspaceMode?p=0                                                            6/13
8/9/22, 11:46 PM       Case 3:21-cv-08854-JCS Document 42-4 Details
                                                              Filed 08/11/22 Page 8 of 14
            04/27/2021 People's Opposition to Defendant's 


               Comment
               Demurrer


            05/20/2021 Reply Filed 


               Comment
               To The People's Opposition


            05/26/2021 Demurrer 


            Judicial Officer
            Averill, Shelly J

            Hearing Time
            1:30 PM

            Result
            Held


            05/26/2021 Bail Bond Exonerated


            06/03/2021 Further Proceedings 


            Judicial Officer
            Averill, Shelly J

            Hearing Time
            8:30 AM

            Result
            Held

            Comment
            plea; set PX


            07/01/2021 Document - Filed 


               Comment
               Alexander Leatham's Notice of Demurrer and Demurrer to Accusatory Pleading with Memorandum of Points and
               Authorities (PC 1004)


            07/01/2021 Motion - Filed 


               Comment
               Alexander Leatham's Notice of Motion to to Disqualify the Prosecution, Motion to Disqualify the Prosecution,
               and Memorandum of Points and Authorities


            07/02/2021 Appearance of Counsel 


            Judicial Officer
            Averill, Shelly J


https://cmsportal.sonomacourt.org/IPortal/Home/WorkspaceMode?p=0                                                              7/13
8/9/22, 11:46 PM       Case 3:21-cv-08854-JCS Document 42-4 Details
                                                              Filed 08/11/22 Page 9 of 14
            Hearing Time
            8:30 AM

            Result
            Held

            Comment
            Plea; set PX; Defendant ordered to appear


            07/02/2021 Document - Filed 


               Comment
               People's Opposition to Defendants' Second Demurrer (PC Sect. 1004)


            07/23/2021 Proof of Service - Filed


            07/27/2021 Appearance of Counsel 


            Judicial Officer
            Averill, Shelly J

            Hearing Time
            8:30 AM

            Result
            Held


            07/27/2021 Motion - Filed 


               Comment
               Alexander Leatham's Notice, Verified Statement and Motion for Dismissal, Recusal or Disqualification of Judge
               Shelly Averill with Memorandum of Points and Authorities (CCP 170.1(a)(6), 170.3(c), 170.3(b)(2)(A),; 28 U.S.C.
               455(a))


            08/06/2021 Order 


               Judicial Officer                 Comment
               Averill, Shelly J                Order Striking Defendant "Alexander Leatham's Notice, Verified Statement and
                                                Motion for Dismissal, Recusal or Disqualification of Judge Shelly Averill;"
                                                Alternative Verified Answer of Judge Shelly J. Averill


            08/27/2021 Reporters Transcript Filed 


               Comment
               Proceedings of 12/11/19, by M Murray; no copies


            09/20/2021 Document - Filed 


               Comment
               Alexander Leatham's First Amended Verified Statement of Disqualification of Judge Shelly Averill, Part two with
               Notice, Motion for Dismissal, Recusal or Disqualification, and Memorandum of Points and Authorities


            09/20/2021 Document - Filed 


https://cmsportal.sonomacourt.org/IPortal/Home/WorkspaceMode?p=0                                                                 8/13
8/9/22, 11:46 PM      Case 3:21-cv-08854-JCS Document 42-4 Details
                                                            Filed 08/11/22 Page 10 of 14
               Comment
               Alexander Leatham's Notice of Second Verified Statement of Disqualification of Judge Shelly Aveill


            09/20/2021 Proof of Service - Filed


            09/20/2021 Document - Filed 


               Comment
               Alexander Leatham's Notice of First Amended Verified Statement of Disqualification of Judge Shelly Averill


            09/21/2021 Calendar Control 


            Judicial Officer
            Averill, Shelly J

            Hearing Time
            8:30 AM

            Result
            Held

            Comment
            Appearance of Counsel


            10/01/2021 Order 


               Judicial Officer                 Comment
               Averill, Shelly J                Order Striking Defendant "Alexander Leatham's First Amended Verified Statement
                                                of Disqualification of Judge Shelly Averill, Part Two with Notice, Motion for
                                                Dismissal, Reversal, and Memorandum of Points and Authorities;" Alternative
                                                Verified Answer of Judge Shelly J. Averill


            11/05/2021 Document - Filed 


               Comment
               So Co Sheriff's Office's Reply


            11/05/2021 Reply Filed 


               Comment
               To Defendant's Opposition To Motion


            11/17/2021 Motion 


            Judicial Officer
            Averill, Shelly J

            Hearing Time
            8:30 AM

            Cancel Reason
            Vacated


            11/17/2021 Motion 

https://cmsportal.sonomacourt.org/IPortal/Home/WorkspaceMode?p=0                                                                 9/13
8/9/22, 11:46 PM      Case 3:21-cv-08854-JCS Document 42-4 Details
                                                            Filed 08/11/22 Page 11 of 14
            Judicial Officer
            Averill, Shelly J

            Hearing Time
            1:30 PM

            Result
            Held

            Comment
            Motion to Quash


            11/24/2021 Document - Filed 


               Comment
               Alexander Leatham's Second Verified Statement of Disqualification of Judge Shelly Averill with Notice, Motion
               for Dismissal, Recusal or Disqualification, and Memorandum of Points and Authorities Filed


            11/24/2021 Proof of Service - Filed


            11/29/2021 Document - Filed 


               Comment
               Peremptory challange to judicial officer (170.6)


            12/03/2021 Document - Filed 


               Comment
               VERIFIED ANSWER OF JUDGE SHELLY J. AVERILL TO THE STATEMENT OF DISQUALIFICATION;
               MEMORANDUM OF POINTS AND AUTHORITIES


            12/06/2021 Proof of Service - Filed


            12/09/2021 Order 


               Judicial Officer                 Comment
               Shaffer, Troye K.                Order on Declaration of Prejudice Under Section 170.6



            01/26/2022 Motion 


            Judicial Officer
            Husing, Sylvia L

            Hearing Time
            1:30 PM

            Result
            Held

            Comment
            to Quash


            03/03/2022 1050 PC Motion - Filed 



https://cmsportal.sonomacourt.org/IPortal/Home/WorkspaceMode?p=0                                                               10/13
8/9/22, 11:46 PM      Case 3:21-cv-08854-JCS Document 42-4 Details
                                                            Filed 08/11/22 Page 12 of 14
               Judicial Officer                 Comment
               Honigsberg,                      Routed to Dept 13 via the JA shelf
               Christopher M.



            03/04/2022 Ruling 


               Comment
               Ruling on Disqualification of Judge Shelly J. Averill


            03/07/2022 Motion 


            Original Type
            Motion

            Judicial Officer
            Honigsberg, Christopher M.

            Hearing Time
            1:30 PM

            Result
            Held

            Comment
            to Quash; Faretta


            04/11/2022 Motion 


            Original Type
            Motion

            Judicial Officer
            Honigsberg, Christopher M.

            Hearing Time
            1:30 PM

            Result
            Held

            Comment
            TO QUASH, FARETTA Hearing


            04/26/2022 Plea 


            Original Type
            Plea

            Judicial Officer
            Honigsberg, Christopher M.

            Hearing Time
            9:00 AM

            Result
            Held

            Comment
            TO SET PRELIM
https://cmsportal.sonomacourt.org/IPortal/Home/WorkspaceMode?p=0                           11/13
8/9/22, 11:46 PM      Case 3:21-cv-08854-JCS Document 42-4 Details
                                                            Filed 08/11/22 Page 13 of 14

            04/26/2022 Document - Filed 


               Comment
               Verified Statement of Disqualification of Judge Christopher Honigsberg with Notice of Motion, Motion, and
               Memorandum of Points and Authorities [Code of Civ. Proc. Section 170.1(a)(6)(A)(iii), 170.3(c)(5)]


            04/26/2022 Document - Filed 


               Comment
               Verified Statement of Disqualification of Judge Christopher Honigsberg with Notice of Motion, Motion, and
               Memorandum of Points and Authorities [Code of Civ. Proc. Section 170.1(a)(6)(A)(iii), 170.3(c)(5)]


            05/06/2022 Order 


               Judicial Officer                 Comment
               Honigsberg,                      Order Striking "Verified Statement of Disqualification of Judge Christopher
               Christopher M.                   Honigsberg with Notice of Motion, Motion, and Memorandum of Points and
                                                Authorities," Alternative Verified Answer of Judge Christopher Honigsberg


            05/06/2022 Order 


               Judicial Officer                 Comment
               Honigsberg,                      Order Striking "Verified Statement of Disqualification of Judge Christopher
               Christopher M.                   Honigsberg with Notice of Motion, Motion, and Memorandum of Points and
                                                Authorities," Alternative Verified Answer of Judge Christopher Honigsberg


            05/19/2022 Plea 


            Judicial Officer
            Honigsberg, Christopher M.

            Hearing Time
            9:00 AM

            Result
            Held


            05/20/2022 Plea 


            Judicial Officer
            Honigsberg, Christopher M.

            Hearing Time
            9:00 AM

            Result
            Held

            Comment
            Faretta Hearing


            05/20/2022 Faretta Waiver Filed


            07/29/2022 Motion - Filed 
https://cmsportal.sonomacourt.org/IPortal/Home/WorkspaceMode?p=0                                                              12/13
8/9/22, 11:46 PM      Case 3:21-cv-08854-JCS Document 42-4 Details
                                                            Filed 08/11/22 Page 14 of 14
               Comment
               Notice and motion for Joinder


            07/29/2022 Motion - Filed 


               Comment
               Motion to dismiss or address grievances for multiple reasons including outrageous governmental conduct


            08/23/2022 Plea 


            Judicial Officer
            Honigsberg, Christopher M.

            Hearing Time
            9:00 AM

            Comment
            TO SET PRELIM




https://cmsportal.sonomacourt.org/IPortal/Home/WorkspaceMode?p=0                                                        13/13
